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                                              February 6, 2025

                                Via ECF

Butterfield & Patterson, PLLC   Hon. Philip M. Halpern, U.S. District Judge
       P.O. Box 941681          U.S. District Court for the
     Plano, Texas 75094
                                   Southern District of New York
      (945) 284–0700            Charles L. Brieany, Jr., U.S. Courthouse, Rm. 530
                                300 Quarropas St.
 ButterfieldPatterson.com
                                White Plains, New York 10601

                                   Re: Second Letter Motion for Extension of Time, Chun-Ko Chang v.
                                       Shen Yun Performing Arts, Inc., et al., Cause No. 7:24-cv-08980-
                                       PMH.

                                Dear Judge Halpern:

                                     The undersigned has recently been retained to serve as counsel for

                                Defendants Shen Yun Performing Arts, Inc.; Fei Tian College; Fei Tian

                                Academy of the Arts; Dragon Springs Buddhist Inc.; Shujia Gong a/k/a

                                Tianliang Zhang, Hongzhi Li, and Rui Li (the “Shen Yun Defendants”) in

                                the above-captioned matter. I respectfully request an extension of time

                                of 30 days for my clients to answer or otherwise respond to Plaintiff ’s

                                complaint (to March 21, 2025). This is the Shen Yun Defendants’ second

                                collective request for an extension, as the Court previously granted con-

                                tinuances to the Shen Yun Defendants from January 10, 2025, to February

                                19, 2025. ECF Nos. 26, 27, and 32.

                                     The Shen Yun Defendants initially engaged the firms of Cuddy &

                                Feder and Stevenson & Marino LLP to represent them in this matter. Coun-

                                sel from those firms are withdrawing their appearances. Butterfield &

                                Patterson, PLLC, along with co-counsel Steven Schneebaum and Terri

                                Marsh, was retained to serve as counsel on February 3. All of us have

                                now been admitted to the Bar of this Court pro hac vice.

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     The Complaint is complex factually and legally, asserting eleven causes of action and spanning

some 65 pages. Under the current deadline, undersigned counsel would have just over a week to

prepare a response and, if appropriate, to initiate the first set of pre-motion letters for a motion to

dismiss under the Court’s individual practices. This request for an additional extension of 30 days

would allow me and my co-counsel to devise a litigation strategy and to evaluate and respond to

Plaintiff ’s allegations in a professional and competent manner.

      Plaintiff ’s counsel has advised that their client is opposed to any extension beyond March 7

because Plaintiff ’s counsel previously negotiated a schedule with Shen Yun Defendants’ prior counsel

for a 40-day extension with a response due February 19, 2025, and our new request for an additional

30-day extension is not justified by the circumstances.

      I therefore respectfully request that the Court grant an extension of time to respond to Plain-

tiff ’s complaint to March 21, 2025. We thank Your Honor for your consideration of this request.

                                                   Respectfully submitted,

                                                    /s/ Justin E. Butterfield				
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                                                  * admitted pro hac vice

cc: All counsel of record (via ECF)




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